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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                        :      CHAPTER 7
                                                 :
   MICHAEL J. BLYDENSTEIN,                       :      CASE NO. 18-71767-PMB
                                                 :
            Debtor.                              :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On March 5, 2021, the Trustee sold real property of the estate known as 215

   Mitchell Street SW, Unit 9, Atlanta, GA 30303 (“Property”) to ELS Property Solutions,

   LLC (“Purchaser”) for $270,000.00 as ordered and approved by the Court on March 3,

   2021 [Doc. No. 76].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser

   and has received net funds of $14,439.06 from the sale.

            Respectfully submitted this 15th day of March, 2021.

                                                            /s
                                                        S. Gregory Hays
   Hays Financial Consulting, LLC                       Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

                  Office of the United States Trustee
                  362 Richard B. Russell Building
                  75 Ted Turner Drive, SW
                  Atlanta, GA 30303

                  Michael J Blydenstein
                  215 Mitchell Street, SW
                  #9
                  Atlanta, Ga 30303

                  G. Frank Nason, IV
                  Lamberth, Cifelli, Ellis & Nason, P.A.
                  Suite 435
                  6000 Lake Forrest Drive, N.W.
                  Sandy Springs, GA 30342

                  John A. Medina
                  Kenney & Medina, P.C.
                  593 Main Street
                  Suwanee, GA 30024

          This 15th day of March, 2021.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
